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                                                                                  2018 Sep-18 PM 04:31
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

REBECCA ANNE PETERS, on behalf of             )
herself and all others similarly situated,    )
                                              )     CASE NO.:
      Plaintiffs,                             )
                                              )      2:17-cv-01270-AKK
v.                                            )
                                              )
EXPERIAN INFORMATION                          )     CLASS ACTION
SOLUTIONS, INC.,                              )
                                              )
      Defendant.                              )

                     JOINT MOTION TO STAY
      PENDING FINAL APPROVAL OF CLASS ACTION SETTLEMENT

      COMES NOW Plaintiff Rebecca Anne Peters (“Plaintiff”) and Defendant

Experian Information Services, Inc. (“Defendant”) (collectively referred to as the

“Parties”) by and through their undersigned counsel, and move this Honorable Court

to stay this matter pending final approval of a nationwide class action settlement. In

support, the Parties state as follows:

      1.     This matter is one of numerous putative class actions brought in various

jurisdictions against Defendant alleging violations of the Fair Credit Reporting Act,

15 U.S.C. §§ 1681-1681x, regarding Defendant’s reporting and disclosure of public

record information.

      2.     On August 31, 2018, and as part of a series of settlement conferences

mediated by Magistrate Judge David Novak, a nationwide class action settlement

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was reached with Defendant. See Clark, et al. v. Experian Information Solutions,

Inc., Case No. 3:16-cv-32 (E.D. Va.) and Brown, et al. v. Experian Information

Solutions, Inc., Case No. 3:16-cv-670 (E.D. Va.) (hereinafter the “Clark

Settlement”)1.

       3.     The terms of the Clark Settlement embrace Plaintiff’s class claims and,

if finally approved, will resolve all of Plaintiff’s class claims asserted in this matter.

       4.     The Parties have conferred and agree that in the interest of judicial

economy, all proceedings in this matter should be stayed until the Clark Settlement

has been granted final approval and no further appeals remain. Within fourteen (14)

days of such date, the Parties will jointly notify the Court and file the appropriate

papers to dismiss this matter with prejudice. In the event the Clark matter is not

approved for final settlement, and within fourteen (14) days of such date, the Parties

will file a Joint Status Report setting forth how this case should proceed.

       WHEREFORE, the Parties respectfully request that this Court enter an order

staying this matter pending final approval of the Clark Settlement and directing the

Parties to file the appropriate dismissal papers or a Joint Status Report setting forth




1
 Judge Novak also recently successfully mediated another nationwide settlement concerning
similar public record claims against TransUnion, LLC,, in which District Judge M. Hannah Lauck
entered a final approval order for the nationwide settlement. See Clark v. TransUnion LLC, No.
3:15-cv-00351-MHL (E.D. Va. Aug. 29, 2018) (Docs. 272-73).


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how the case should proceed, within fourteen (14) days of a decision on the Clark

Settlement.

                               RESPECTFULLY SUBMITTED,

                               /s/ Micah S. Adkins
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                         CERTIFICATE OF SERVICE

I certify that on September 18, 2018, I served the foregoing paper by filing the same
using the CM/ECF System, which will electronically notify the following counsel
of record of same:

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                                /s/ Micah S. Adkins
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